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                                            May 13, 2025

VIA ECF

The Honorable Richard J. Leon
U.S. District Court for the District of Columbia
333 Constitution Avenue, NW
Washington, DC 20001

          Re:      Wilmer Cutler Pickering Hale and Dorr LLP v. Executive Office of the
                   President, No. 1:25-cv-917-RJL (D.D.C.)

Dear Judge Leon:

       I write to inform the Court of a recent development that pertains to the above-
referenced matter. On May 9, 2025, two WilmerHale attorneys received letters from a
government agency informing them that their security clearances have been suspended
“pursuant to Executive Order 14250, Addressing Risks from WilmerHale” (the “Executive
Order”).1

        This development underscores that the Executive Branch stands ready and willing
to implement the Executive Order absent judicial intervention. It also underscores the need
for any permanent relief this Court may grant not only to restrain future implementation of
the Executive Order, but also to redress actions already taken pursuant to it. Accordingly,
WilmerHale respectfully requests that, if the Court enjoins enforcement of the Executive
Order, the Court specifically direct Defendants to (1) nullify and reverse any and all
suspensions or revocations of WilmerHale personnel’s security clearances that have been
made pursuant to the Executive Order; (2) cease any and all reviews of WilmerHale
personnel’s security clearances initiated pursuant to the Executive Order; and (3) nullify,
reverse, and/or cease any other actions that may have been taken pursuant to the Executive
Order.

                                                     Respectfully,

                                                     s/Paul D. Clement
                                                     Paul D. Clement

                                                     Counsel for Plaintiff
Cc: All Counsel of Record




1
    WilmerHale stands ready to lodge the letters under seal if the Court so orders.


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